     Case 2:20-cv-00646-GMN-EJY Document 23 Filed 08/28/20 Page 1 of 2



 1
     David Mincin, Esq.
 2   Nevada Bar No. 5427
     MINCIN LAW, PLLC
 3   7465 W. Lake Mead Boulevard, #100
     Las Vegas, Nevada 89128
 4   dmincin@mincinlaw.com
     Phone: 702-852-1957
 5   Fax: N/A
     Attorney for Plaintiff
 6
                                                     UNITED STATES DISTRICT COURT
 7
                                                                   DISTRICT OF NEVADA
 8
       CHINA AUTO LOGISTICS, INC., a Nevada                                                            Case No.: 20-CV-00646-GMN-EJY
 9     Corporation,
10                                                                       Plaintiff,
11     vs.
12     DLA PIPER, LLP, a Maryland Limited
       Liability Partnership,
13
                                                                    Defendant.
14

15
        STIPULATION AND ORDER TO EXTEND TIME FOR RULE 26 (3RD REQUEST)
16
                  Whereas this action was filed by Plaintiff China Auto Logistics against Defendant
17
     DLA Piper LLP (US) in Clark County District Court, State of Nevada, on March 13, 2020.
18
                  Whereas Defendant DLA Piper LLP (US) filed a notice of removal removing this
19
     action to this court on April 6, 2020.
20
                  Whereas Defendant DLA Piper LLP (US) filed a motion to dismiss on April 13, 2020
21
     in which it challenges personal jurisdiction over it Nevada courts.
22
                  Whereas the parties believe cause exists to extend the time for holding a Rule 26(f)
23
     conference for the following reasons. 1) judicial economy favors forbearing on opening
24
     discovery until the court resolves Defendant DLA Piper LLP (US)’s objection to personal
25
     jurisdiction in this court. 2) numerous eye-witnesses, shareholders, officers and members of
26
     Plaintiff China Auto Logistics’s board reside in China. A general ban currently exists that
27

28
                                                                                  Page 1 of 3
     W:\2019 - DM\4396cali.dlapiper\Stip To Extend Time For Rule 26 (3rd Req)...DMcb...8-28-2020.wpd                          August 28, 2020 (8:43am)
     Case 2:20-cv-00646-GMN-EJY Document 23 Filed 08/28/20 Page 2 of 2



 1   would prohibit travel from China to the United States. Plaintiff believes it will be extremely

 2   challenging to coordinate witness depositions until the travel ban is resolved. 3) Numerous

 3   other witnesses reside outside of Nevada and the United States. The parties believe it will be

 4   challenging to coordinate these depositions and other discovery until travel and other business

 5   restrictions that exist due to the coronavirus pandemic are lifted.

 6                It Is Therefore Stipulated And Agreed that the time to hold the Fed. R. Civ. P. 26(f)

 7   conference is extended to October 30, 2020 and the time to submit a proposed scheduling

 8   order required by LR 26-1 be extended to October 30, 2020.

 9
     SO STIPULATED                                                                                     SO STIPULATED
10
     DATED this 28th day of August, 2020.                                                              DATED this 28th day of August, 2020.
11
     MINCIN LAW, PLLC                                                                                  LIPSON NEILSON PC
12

13   By:          /s/ David Mincin                                                                     By:   /s/ Lisa J. Zastrow
                  David Mincin, Esq.                                                                         Joseph P. Garin, Esq.
14                State Bar No.5427                                                                          State Bar No. 6653
                  7465 W. Lake Mead Boulevard, #100                                                          Lisa J. Zastrow, Esq.
15                Las Vegas, Nevada 89128                                                                    State Bar No. 9727
                  Attorney for Plaintiff                                                                     9900 Covington Cross Dr., #120
16                                                                                                           Las Vegas, Nevada 89144
                                                                                                             Attorney for Defendant
17

18                ORDER

19                Based on the foregoing Stipulation between the parties:

20                IT IS HEREBY ORDERED that the time to hold the Fed. R. Civ. P. 26(f)

21   conference is extended to October 30, 2020 and the time to submit a proposed scheduling

22   order required by LR 26-1 be extended to October 30, 2020.

23                DATED this 28th day of August, 2020.
24
                                                                                        __________________________________
25                                                                                            U.S. Magistrate Judge
26

27   ///

28
                                                                                  Page 2 of 3
     W:\2019 - DM\4396cali.dlapiper\Stip To Extend Time For Rule 26 (3rd Req)...DMcb...8-28-2020.wpd                              August 28, 2020 (8:43am)
